           Case 1:08-cr-00057-BJR Document 113 Filed 02/01/13 Page 1 of 14



                   IN THE UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
       v                                      :              Crim. No 08-57-16 (BJR)
                                              :
AURELIO CANO FLORES                           :


        DEFENDANT’S SUPPLEMENTAL MOTION TO SUPPRESS EVIDENCE

       Defendant, Aurelio Cano Flores (“Mr. Cano Flores” or “Defendant”), through

undersigned counsel, respectfully requests that this Court suppress all evidence against him

arising from the unlawful electronic surveillance conducted by the government on the six

telephone lines containing calls which the government has identified as calls it intends to play

at trial.1 The government alleges that all of the designated lines intercepted conversations in

which Mr. Cano Flores was a participant. As grounds therefore, Defendant states:

       1.      The indictment jointly charges twenty defendants with one count of narcotics

conspiracy involving the manufacture and distribution of five kilograms or more of cocaine and

1000 kilograms or more of marijuana for importation into the United States, 21 U.S.C. §§ 959,

960, 963 and 18 U.S.C. § 2, and a criminal forfeiture count, 21 U.S.C. §§ 853 and 970.2

       2.      The indictment appears to be based entirely upon evidence gleaned from a

massive wiretap scheme administered in Houston, Texas, but directed primarily against Mexican

nationals in Mexico.


       1
           On Friday afternoon, January 25, 2013, while compiling the parties’ joint pretrial
statement, the government informed the defense that the wiretap calls listed on the government’s
exhibit list were the final calls designated by the government and that the roster of calls to be
played at trial would not change.
        2
           Defendants other than Mr. Cano-Flores, in various combinations, are charged with two
additional counts of distribution of cocaine for importation to the United States for specific acts
on October 5, 2007 and November 30, 2007, 21 U.S.C. § 959 and 18 U.S.C. § 2.

                                                  1
        Case 1:08-cr-00057-BJR Document 113 Filed 02/01/13 Page 2 of 14



       3.     All of the intercepted calls designated by the government to be played at trial are

on lines that clearly are Mexican phone lines, identified as such by the Urban Fleet Member

Identifier numbers assigned to them.

       4.     Mr. Cano Flores seeks suppression of all evidence obtained during the course of

and derived from the following wiretap orders:

              a.      orders issued on January 22, 2007 and February 20, 2007 authorizing

       interception of communications over a cell phone assigned International Mobile

       Subscriber Identity number 334010010016670 and Urban Fleet Mobile Identifier number

       62*210743*7, which the government designated as Target Device 12;

              b.      the order issued on March 8, 2007 authorizing interception of

       communications over a cell phone assigned International Mobile Subscriber Identity

       number 334010010119101 and Urban Fleet Mobile Identifier number 62*15*37010,

       which the government designated as Target Device 21;

              c.      orders issued on March 21, 2007, April 19, 2007, May 18, 2007, June 15,

       2007 and July 13, 2007 authorizing interception of communications over a cell phone

       assigned International Mobile Subscriber Identity number 334010010274353 and Urban

       Fleet Mobile Identifier number 62*244056*6, which the government designated as

       Target Device 22;

              d.      orders issued on May 18, 2007, June 15, 2007 and July 13, 2007

       authorizing interception of communications over a cell phone assigned International




                                                 2
           Case 1:08-cr-00057-BJR Document 113 Filed 02/01/13 Page 3 of 14



       Mobile Subscriber Identity number 334010010303243 and Urban Fleet Mobile Identifier

       number 62*15*84590, which the government designated as Target Device 31;3

               e.      the order issued on July 13, 2007 authorizing interception of

       communications over a cell phone assigned International Mobile Subscriber Identity

       number 334010010016678 and Urban Fleet Mobile Identifier number 62*17337*5,

       which the government designated as Target Device 37; and

               f.      orders issued on August 24, 2007, October 19, 2007 and November 16,

       2007 authorizing interception of communications over a cell phone assigned International

       Mobile Subscriber Identity number 334010004724262 and Urban Fleet Mobile Identifier

       number 52*332568*11, which the government designated as Target Device 49.

       5.      Mr. Cano Flores seeks to suppress all conversations intercepted during the course

of these wiretaps, as well as all evidence, including observations of law enforcement officers

directed to conduct surveillance, based upon the interception of conversations during the wiretap,

and other evidence derived from the unlawful interception of wire and electronic

communications at the time of trial, including all wiretaps applied for as a result of information

gained pursuant to the unlawful wiretaps.

       6.      This motion is made on the following grounds: (a) the wiretap orders did not

authorize interception of calls between two phones in Mexico; (b) all the wiretap calls the govt

intends to play at trial were intercepted from Mexican telephone lines; and (c) Title III of the

Omnibus Crime Control and Safe Streets Act of 1968, 18 U.S.C. 2510, et seq does not grant

authority to intercept communications outside the United States.



       3
         In some affidavits, this Target Device was listed as Number 32, but the International
Mobile Subscriber Identity number and Urban Fleet Mobile Identifier number were the same as
for Target Device Number 31.

                                                 3
          Case 1:08-cr-00057-BJR Document 113 Filed 02/01/13 Page 4 of 14



         WHEREFORE, for the above reasons, as well as those set forth in the attached

Memorandum of Points and Authorities, Defendant respectfully request that this Court suppress

all evidence against him arising from the unlawful electronic surveillance conducted by the

government on the six telephone lines containing calls which the government intends to play at

trial.



                                             Respectfully submitted

                                             /s/ Kristen Grim Hughes
                                             Kristen Grim Hughes
                                             DC Bar No. 456171
                                             1390 Chain Bridge Road, #530
                                             McLean, Virginia 22101
                                             (703) 798-4444 phone
                                             kghughes@hotmail.com

                                             /s/ Richard K. Gilbert
                                             Richard K. Gilbert
                                             D.C. Bar. No. 939884
                                             601 Pennsylvania Avenue, N.W.
                                             Suite 900, South Building
                                             Washington, D.C. 20004
                                             (202) 898-0857 phone
                                             rkgesq@juno.com

                                             Attorneys for Defendant Aurelio Cano Flores
                                             Appointed by the Court




                                                4
         Case 1:08-cr-00057-BJR Document 113 Filed 02/01/13 Page 5 of 14



                           IN THE UNITED STATES DISTRICT COURT FOR THE
                                      DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           :
                                                   :
        v                                          :              Crim. No 08-57-16 (BJR)
                                                   :
AURELIO CANO FLORES                                :


             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
            DEFENDANT’S SUPPLEMENTAL MOTION TO SUPPRESS EVIDENCE

        Defendant, Aurelio Cano Flores (“Mr. Cano Flores” or “Defendant”), through

undersigned counsel, respectfully submits this memorandum of points and authorities in support

of his supplemental motion to suppress all evidence against him arising from the unlawful

government wiretaps on the six telephone lines containing calls which the government intends

to play at trial

I.      STANDING

        The Federal Wiretap Statute, enacted in Title III of the Omnibus Crime Control and

Safe Streets Act of 1968, is codified at 18 U.S.C. §§ 2510 through 2522. Section 2518

(10)(a), which authorizes “aggrieved persons” to move to suppress both the contents of the

intercepted communications and the evidence derived therefrom, provides in pertinent part:

        Any aggrieved person in a trial, hearing, or proceeding before any court,
        department, officer, agency, regulatory body, or other subdivision thereof, may
        move to suppress the contents of any wire or oral communication intercepted
        pursuant to this chapter, or evidence derived therefrom, on the grounds that -
                   (i)       the communication was unlawfully intercepted;
                   (ii)      the order of authorization or approval under which it was intercepted is
                             insufficient on its face; or
                   (iii)     the interception was not made in conformity with the order of
                             authorization or approval.

        An “aggrieved person” includes a party or participant to the intercepted wire

communications, as well as the person on whose premises the intercepted conversation occurred.


                                                       5
           Case 1:08-cr-00057-BJR Document 113 Filed 02/01/13 Page 6 of 14



Alderman v. United States, 394 U.S. 165, 174 (1969). The government alleges that Defendant

Aurelio Cano Flores was a participant in conversations on each of the challenged wiretaps. Thus,

he is an “aggrieved person” under 18 U.S.C. 2518 (10)(a), and has standing to challenge the

evidence from the wiretaps. See United States v. Eiland, 398 F.Supp.2d 160 (D. D.C. 2005).

II.    ALL THE WIRETAP CALLS THE GOVT INTENDS TO PLAY AT TRIAL
       WERE INTERCEPTED FROM MEXICAN TELEPHONE LINES

       The affidavits incorporated in the applications for wiretaps of the challenged lines show

that all the targeted phone lines were Mexican telephone lines.4

       A.      Target Device 12, IMSI 334010010016670, UFMI 62*210743*7.

       The supporting affidavits state the “representatives of United States Nextel do not have

access to billing and other subscriber information, including the telephone number assigned to

Target Device #12 since it is a Mexico-based Nextel cellular phone with service provided by the

Mexican Division of Nextel Communications and Boost Communications (hereinafter, Mexico

Nextel).” Affidavit, Misc. No. 07-25, January 22, 2007 at 32 and February 20, 2007 at 30.)

       B.      Target Device 21, IMSI 334010010119101, UFMI 62*15*37010.

       The supporting affidavit states the “representatives of United States Nextel do not have

access to billing and other subscriber information, including the telephone number assigned to

Target Device #21 since it is a Mexico-based Nextel cellular phone with service provided by the



       4   A series of documents, named Application for an Order Authorizing the Interception of
Wire Communications, Affidavit in Support of Application, and Order Authorizing the
Interception of Wire Communications, filed in the United States District Court, Southern District
of Texas (Houston Division) on various dates was produced by the government in discovery.
Defendant cites to these documents as “Application,” “Affidavit” and/or “Order” identified by
the relevant filing date and case number for each. Due to the voluminous nature of the
documents, defendant is not attaching them to this memorandum, but will make them available
to the Court if requested. In addition, as many of the documents produced in discovery are
subject to a protection order, Defendant cites only to the redacted versions of the documents so
that filing this motion and memorandum under seal will not be necessary.

                                                6
        Case 1:08-cr-00057-BJR Document 113 Filed 02/01/13 Page 7 of 14



Mexican Division of Nextel Communications and Boost Communications (hereinafter, Mexico

Nextel).” Affidavit, Misc. No. 07-85, March 8, 2007 at 29.

       C.     Target Device 22, IMSI 334010010274353, UFMI 62*244056*6.

       The supporting affidavits state the “representatives of United States Nextel do not have

access to billing and other subscriber information, including the telephone numbers assigned to

Target Devices #22 and #23, since they are Mexico-based Nextel cellular phones with service

provided by the Mexican Division of Nextel Communications and Boost Communications

(hereinafter, Mexico Nextel).” Affidavit, Misc. No. 07-102, March 21, 2007 at 33; April 19,

2007 at 31; May 18, 2007 at 32; June 15, 2007 at 38; and July 13, 2007 at 45.

       D.     Target Device 31, IMSI 334010010303243, UFMI 62*15*84590.

       The “62” prefix in the Nextel Urban Fleet Mobile Identifier corresponding to IMSI

334010010303243 is only assigned to phone numbers in Mexico.

       E.     Target Device 37, IMSI 334010010016678, UFMI 62*17337*5.

       The supporting affidavit states the “representatives of United States Nextel do not have

access to billing and other subscriber information, including the telephone numbers assigned to

Target Devices #22, #23, #30, #37 and #38, since they are Mexico-based Nextel cellular phones

with service provided by the Mexican Division of Nextel Communications and Boost

Communications (hereinafter, Mexico Nextel).” Affidavit, Misc. No. 07-102, July 13, 2007 at

37.

       F.     Target Device 49, IMSI 334010004724262, UFMI 52*332568*11.

       The “52” prefix in the Nextel Urban Fleet Mobile Identifier corresponding to IMSI

334010004724262 is only assigned to phone numbers in Mexico.




                                                7
           Case 1:08-cr-00057-BJR Document 113 Filed 02/01/13 Page 8 of 14



III.      NONE OF THE IDENTIFIED USERS OF THE TARGETED DEVICES IS
          ALLEGED TO HAVE CONDUCTED NARCOTICS-RELATED BUSINESS OR
          ACTIVITIES IN THE UNITED STATES

          The affidavits incorporated in the applications for orders authorizing wiretaps of the

challenged lines show that none of the identified users of the targeted devices is alleged to have

conducted narcotics-related business or activities in the United States.

          A.     TRES (Samuel Flores Borrego, Defendant 6) is identified by the
                 government as the user of Target Devices 12 and 22.

          Statements in the supporting affidavits include:

          “TRES is a Hispanic male based in Reynosa, Mexico…” Affidavit, Misc. No. 07-25,

January 22, 2007 at 17 and Affidavit, Misc. No. 07-85, March 8, 2007 at 18.

          “TRES is a Hispanic male based in Miguel Aleman, Mexico…” Affidavit, Misc. No. 07-

25, February 20, 2007 at 19. (The same averment is made in Affidavit, Misc. No. 07-102, March

21, 2007 at 17; April 19, 2007 at 14; May 18, 2007 at 16; June 15, 2007 at 17; and July 13, 2007

at 19.)

          “Affiant believes TRES does not conduct narcotics related activity while in the United

States, but instead waits until in the secure confines of Mexico, and in particular the Reynosa,

Mexico area.” Affidavit, Misc. No. 07-25, January 22, 2007 at 32 and February 20, 2007 at 30.

          “Agents know that TRES conducts his drug trafficking activity within Mexico.”

Affidavit, Misc. No. 07-102, March 21, 2007 at 33; April 19, 2007 at 31; and May 18, 2007 at 32.

          “Your affiant does not believe that TRES [] enters the United States in the course of

conducting drug-related business Affidavit, Misc. No. 07-102, March 21, 2007 at 33; April 19,

2007 at 31; May 18, 2007 at 32; June 15, 2007 at 38; and July 13, 2007 at 45.)




                                                   8
        Case 1:08-cr-00057-BJR Document 113 Filed 02/01/13 Page 9 of 14



       “Thus far, agents have been unable to identify locations used by TRES or other top

members of the organization TRES is in contact with due to their geographical locations in

Mexico”. Affidavit, Misc. No. 07-25, January 22, 2007 at 32 and February 20, 2007 at 30.

       “TRES also frequently travels to the interior of Mexico to conduct drug related

activities…” Affidavit, Misc. No. 07-25, January 22, 2007 at 32

       “[T]he majority of if not all the co-conspirators of TRES are in Mexico.” Affidavit, Misc.

No. 07-25, February 20, 2007 at 31.

       B.      CARRILLO (allegedly Aurelio Cano Flores, Defendant 16) is identified by
               the government as the user of Target Devices 21 and 31.

       Statements in the supporting affidavits include:

       “CARRILLO, a Hispanic male based in Mexico, is a member of the Gulf Cartel…”

Affidavit, Misc. No. 07-85, March 8, 2007 at 16; Affidavit, Misc. No. 07-308, May 18, 2007 at

15; June 15, 2007 at 18; and July 13, 2007 at 18.

        “CARRILLO uses his telephone while in Mexico to conduct narcotics-related activity…

, Affidavit, Misc. No. 07-85, March 8, 2007 at 29. Affidavit, Misc. No. 07-308, May 18, 2007 at

15; June 15, 2007 at 18; and July 13, 2007 at 18.

       “[Y]our affiant believes that CARRILLO conducts all his drug business in Mexico, and

possibly does not ever enter the United States. Affidavit, Misc. No. 07-85, March 8, 2007 at 29

and Affidavit, Misc. No. 07-308, May 18, 2007 at 39 and June 15, 2007 at 29.

       “CARRILLO used Target Device #32 (sic) while in Mexico, where he conducts all his

drug-related activities, and possibly does not ever enter the United States.” Affidavit, Misc. No.

07-308, July 13, 2007 at 39.

       C.      HUMMER (Jaime Gonzalez-Duran, Defendant 5) is identified by the
               government as the user of Target Device 37.

       Statements in the supporting affidavits include:

                                                 9
        Case 1:08-cr-00057-BJR Document 113 Filed 02/01/13 Page 10 of 14



       “HUMMER is a Hispanic male believed to be living and working in Miguel Aleman,

Mexico”. Affidavit, Misc. No. 07-102, March 21, 2007 at 18, April 19, 2007 at 15, May 18, 2007

at 16 and July 13, 2007 at 19.

       “HUMMER is a Hispanic male believed to be living and working in Nuevo Laredo,

Mexico.” Affidavit, Misc. No. 07-85, March 8, 2007 at 19 and Affidavit, Misc. No. 07-102, June

15, 2007 at 18.

       “Mexican confidential sources have identified HUMMER as the number three-ranking

member of Los Zetas operations in Mexico and the head of the Nuevo Laredo cell of the Los

Zetas, operating in and around the Nuevo Laredo and Miguel Aleman, Mexico area.” Affidavit,

Misc. No. 07-102, March 21, 2007 at 18; April 19, 2007 at 15; May 18, 2007 at 17; June 15,

2007 at 18; and July 13, 2007 at 19.

       “[Y]our affiant does not believe [] HUMMER enters the United States in the course of

conducting drug-related business. Affidavit, Misc. No. 07-102, June 15, 2007 at 38, July 13,

2007 at 45.

       D.         TECNICO (Jose Luis Del Toro Estrada) is identified by the
                  government as the user of Target Device 49.

       Statements in the supporting affidavit include:

       “[Although] TECNICO is known to have a home and communications business in

McAllen, Texas … TECNICO conducts most of his narcotics-related business in Mexico, where

he has a Reynosa-based business…” “Thus, surveillance of TECNICO while in the United

States is not likely to yield evidence of criminal activity.” Affidavit, Misc. No. 07-51, August 24,

2007 at 31, October 19, 2007 at 17 and November 16, 2007 at 20.




                                                10
        Case 1:08-cr-00057-BJR Document 113 Filed 02/01/13 Page 11 of 14



IV.    THE WIRETAP ORDERS DID NOT AUTHORIZE INTERCEPTION OF
       COMMUNICATIONS IN MEXICO

       The wiretap orders for the challenged lines did not authorize interception of calls between

two phones in Mexico. The orders in Misc. No. 07-25, Misc. No. 07-51, Misc. No. 07-85, Misc.

No. 07-102 and Misc. No. 308 only authorized interception when the target phones were in the

United States. They all had identical language: “IT IS FURTHER ORDERED that in the event

Target Device #[xx] and/or #[xx] is transferred outside the territorial jurisdiction of this Court,

interception may take place within any other jurisdiction within the United States.” 18 U.S.C.

2518 (10) (a) (iii) requires suppression if, “the interception was not made in conformity with the

order of authorization or approval.” The interception of calls in Mexico was not authorized by

the wiretap orders; therefore the calls should be suppressed.

IV.    TITLE III DOES NOT GRANT AUTHORITY FOR INTERCEPTION OF
       COMMUNICATIONS WHICH OCCUR OUTSIDE THE UNITED STATES

       Title III sets forth the jurisdictional limits of an order to intercept communications,

provides the scope of the communications that can be lawfully intercepted with a wiretap and

delineates the procedure for obtaining such a wiretap:

       Upon application [a] judge may enter an ex parte order, as requested or as
       modified, authorizing or approving interception of wire, oral, or electronic
       communications within the territorial jurisdiction of the court in which the judge
       is sitting (and outside that jurisdiction but within the United States in the case of
       a mobile interception device authorized by a Federal court within such
       jurisdiction), if the judge determines on the basis of the facts submitted by the
       applicant that . . .

18 U.S.C. § 2518(3) (emphasis added).

       By its language, Title III does not grant a judge authority to authorize interception of

communications which occur outside the United States.

       A fair reading of the statute suggests that Congress did not intend to allow for

interception of communications in another country. The statute limits the jurisdiction of the

                                                 11
        Case 1:08-cr-00057-BJR Document 113 Filed 02/01/13 Page 12 of 14



authorizing court in the case of a mobile interception device to the United States but is silent as

to an interception which not made by a mobile device. Defendant submits that the statute does

not explicitly restrict all interceptions to the United States because, at the time the Statute was

enacted, it was not contemplated that an interception would occur outside the United States. It

was contemplated that a mobile interception device could travel outside the country; therefore,

the jurisdiction of a court in regard to mobile devices was expressly restricted.

       Even if the language of 18 U.S.C. § 2518(3) is ignored, Defendant submits that a judge

does not have jurisdiction to issue an order to intercept foreign communications under Title III.

It is a general proposition that “Title III of the Omnibus Crime Control and Safe Streets Act of

1968, 18 U.S.C. §§ 2510-21, has no extraterritorial force.” United States v. Barona, 56 F.3d

1087, 1090 (9th Cir. 1995) (quoting United States v. Peterson, 812 F.2d 468, 490 (9th Cir.

1987)). In a line of cases, largely based on the challenge to authorization of wiretaps by foreign

authorities (and not, as here, the jurisdiction of a United States court to order the interception of

communications occurring in a foreign country), courts interpreting whether federal wiretap law

applies outside of the United States have uniformly held that, “Title III has no extraterritorial

force.” United States v. Cotroni, 527 F.2d 708, 711 (2nd Cir. 1975) (refusing to apply Title III to

a foreign wiretap).

       A basic canon of the construction of federal statutes is that, “unless a contrary intent

appears, federal statutes apply only within the territorial jurisdiction of the United States.”

Cotroni, 527 F.2d at 711, referencing Foley Brothers v. Filardo, 336 U.S. 281, 285, (1949); Air-

Line Stewards and Stewardesses Association International v. Trans World Airlines, Inc., 273

F.2d 69, 70 (2d Cir. 1959) (per curiam), cert. denied, 362 U.S. 988, (1960). In United States v.

Angulo-Hurtado, 165 F. Supp.2d 1363, 1368 (N.D. Ga. 2001), federal agents utilized

communications uncovered pursuant to an allegedly unlawful wiretap authorized by Columbian

                                                  12
        Case 1:08-cr-00057-BJR Document 113 Filed 02/01/13 Page 13 of 14



authorities as evidentiary support in the agent’s declaration for their own separate United States

wiretap. Id. at 1366-67. Although the facts in Angulo-Hurtado are plainly different from those

presented here, language used by the court in reaching its decision is instructive. The court noted

that American wiretap law does not include any “provision for obtaining authorization for a

wiretap in a foreign country.” Id. at 1369 (citations omitted). Accordingly, a federal judge lacks

the authority to wiretap a foreign phone. Id.

       This same principle—a federal judge lacks the authority to issue a foreign wiretap—was

applied to a defendant’s challenge to a wiretap conducted by foreign law enforcement in a

Second Circuit case, United States v. Toscanino, 500 F. 2d 267, 279 (2d. Cir. 1974). In

Toscanino, federal government officials allegedly bribed a Uruguayan official to conduct

electronic surveillance on a foreign citizen in Uruguay, and requested that the Uruguayan official

forward the results of the surveillance to federal authorities in the United States. Id. at 270.

After being arrested, the defendant contended that the United States government violated federal

wiretap law as a result of its unlawful surveillance in contravention of Title III. Id. at 279.

       The court disagreed with the defendant and held that no violation of federal wiretap law

occurred. Id. at 279-280. The court explained that a federal judge did not have power to

authorize a wiretap on a phone in Uruguay, and thus no violation of federal statutory law was

possible: “In prescribing the procedures to be followed in obtaining a wiretap authorization, see

18 U.S.C. § 2518, the statute significantly makes no provision for obtaining authorization for a

wiretap in a foreign country.” Id. Because nothing in the statutory framework prohibited the

extraterritorial interception of communications by foreign authorities, the court held that United

States officials did not violate federal wiretap law when they bribed the local Uruguayan

employee to conduct electronic surveillance on the defendant in Uruguay, and then forwarded

that surveillance to government officials in the United States. Id.

                                                 13
         Case 1:08-cr-00057-BJR Document 113 Filed 02/01/13 Page 14 of 14



         Defendant submits that the reasoning of the courts which have considered whether Title

III applies abroad supports the proposition that a United States court has no judicial authority to

order the monitoring and interception of communications between telephones located entirely in

a foreign country. Title III does not authorize interception of communications which occur in

another country; therefore, all intercepted calls on the six telephone lines which the government

intends to play at trial, and all evidence derived from those wiretaps, should be suppressed.

         WHEREFORE, for the above reasons, as well as those set forth in the attached

Supplemental Motion in Limine, Defendant respectfully request that this Court suppress all

evidence against him arising from the unlawful electronic surveillance conducted by the

government on the six telephone lines containing calls which the government intends to play at

trial.



                                              Respectfully submitted

                                              /s/ Kristen Grim Hughes
                                              Kristen Grim Hughes
                                              DC Bar No. 456171
                                              1390 Chain Bridge Road, #530
                                              McLean, Virginia 22101
                                              (703) 798-4444 phone
                                              kghughes@hotmail.com

                                              /s/ Richard K. Gilbert
                                              Richard K. Gilbert
                                              D.C. Bar. No. 939884
                                              601 Pennsylvania Avenue, N.W.
                                              Suite 900, South Building
                                              Washington, D.C. 20004
                                              (202) 898-0857 phone
                                              rkgesq@juno.com

                                              Attorneys for Defendant Aurelio Cano Flores
                                              Appointed by the Court



                                                 14
